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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                                        CASE NUMBER:


 MICHAEL ARCHER , et al.                                   2:24−cv−07056−HDV−SK
                                         PLAINTIFF(S)

        v.
 SHOUT FACTORY LLC

                                                            NOTICE TO FILER OF DEFICIENCIES IN
                                      DEFENDANT(S).
                                                                 ATTORNEY CASE OPENING




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                                           Clerk, U.S. District Court

 Dated: August 22, 2024                    By: /s/ Shaunte M Hunter shaunte_hunter@cacd.uscourts.gov
                                              Deputy Clerk




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